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        Attorneys for Plaintiffs SYLVESTER OWINO,
  12    JONATHAN GOMEZ, and the Proposed Class(es)
  13                          UNITED STATES DISTRICT COURT
  14                       SOUTHERN DISTRICT OF CALIFORNIA
  15 SYLVESTER OWINO and JONATHAN                )   Case No. 3:17-CV-01112-JLS-NLS
     GOMEZ, on behalf of themselves and all     )
  16 others similarly situated,                 )
                                Plaintiffs,     )    CLASS ACTION
  17                                            )
                  vs.                           )
  18                                            )    JOINT MOTION TO EXTEND
        CORECIVIC, INC.,                        )    DISCOVERY MOTION DEADLINE
  19                                            )    AS TO PLAINTIFFS’ RESPONSES
                                     Defendant. )    TO DEFENDANT’S REQUESTS FOR
  20                                            )    PRODUCTION OF DOCUMENTS
                                                )    AND INTERROGATORIES [FIRST
  21                                             )   REQUEST]
        CORECIVIC, INC.,                         )
  22                                            )
                              Counter-Claimant, )    Magistrate: Hon. Nita L. Stormes
  23                                            )
                                                )
  24                 vs.                        )
                                                )
  25    SYLVESTER OWINO and JONATHAN )
        GOMEZ, on behalf of themselves and all )
  26    others similarly situated,              )
  27                        Counter-Defendants. ))
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    1              Plaintiffs Sylvester Owino and Jonathan Gomez (“Plaintiffs”) and Defendant
    2   CoreCivic, Inc. (“Defendant”), through their undersigned counsel, request that this Court
    3   grant an extension of the deadline to file a discovery motion regarding Plaintiffs’ responses
    4   to Defendant’s Requests For Production of Documents (Set One) and Interrogatories (Set
    5   One).
    6              The parties request a 45-day extension of the deadline. This is the parties’ first
    7   extension request related to the discovery requests at issue.
    8              Defendant electronically served the discovery requests at issue on January 25, 2019.
    9   Plaintiffs served by U.S. Mail their responses to the discovery requests on February 25,
  10    2019. Electronic courtesy copies were provided to Defendant on February 26, 2019. On
  11    March 29, 2019, Defendant sent Plaintiffs a meet and confer letter regarding production of
  12    responsive documents and perceived deficiencies in Plaintiffs’ written responses. Several
  13    of Plaintiffs’ counsel were out of office for part of the week of April 1, 2019, including
  14    Plaintiffs’ undersigned counsel, who is primarily handling Plaintiffs’ discovery responses,
  15    document production, and meet and confer efforts regarding the responses. In addition,
  16    Plaintiffs’ undersigned counsel was out of office on Monday, April 8, 2019, for court
  17    appearances in San Diego and Los Angeles.
  18               On April 10, 2019, counsel for the parties briefly discussed the timing issue
  19    presented by the Court’s discovery motion deadline and the need to request a first extension
  20    of that deadline.
  21               Plaintiffs intend to produce documents in short order that are in their possession,
  22    custody, or control, and that are responsive to certain of Defendant’s document requests.
  23    Plaintiffs further intend to review the issues raised in Defendant’s meet and confer letter
  24    (and the authorities cited therein), and amend / supplement their responses as necessary, or
  25    further meet and confer with Defendant’s counsel regarding the parties’ respective
  26    positions regarding discovery requests still at issue.
  27               Therefore, the parties jointly request a 45-day extension of the deadline to file a
  28    discovery motion regarding Plaintiffs’ responses, which should allow sufficient time to


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    1   review the issues raised in Defendant’s meet and confer letter from March 29, 2019, amend
    2   or supplement any discovery responses that may require it, produce responsive documents,
    3   and meet and confer on any remaining issues related to the discovery requests.
    4
        DATED: April 11, 2019                     FOLEY & LARDNER LLP
    5                                             J. Mark Waxman
    6                                             Eileen R. Ridley
                                                  Geoffrey Raux
    7                                             Nicholas J. Fox
                                                  Alan R. Ouellette
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  10                                              /s/ Nicholas J. Fox
                                                  Nicholas J. Fox
  11
                                                  LAW OFFICE OF ROBERT L. TEEL
  12                                              Robert L. Teel
  13                                              Attorneys for Plaintiffs SYLVESTER
                                                  OWINO, JONATHAN GOMEZ, and the
  14                                              Proposed Class(es)
  15

  16    DATED: April 11, 2019                     STRUCK LOVE BOJANOWSKI &
                                                  ACEDO, PLC
  17                                              Daniel P. Struck
                                                  Rachel Love
  18                                              Nicholas D. Acedo
                                                  Ashlee B. Hesman
  19                                              Jacob B. Lee
  20

  21
                                                  /s/ Jacob B. Lee
  22                                              Jacob B. Lee
  23                                              LAW OFFICE OF ETHAN H. NELSON
                                                  Ethan H. Nelson
  24
                                                  Attorneys for DEFENDANT/COUNTER-
  25                                              CLAIMANT CORECIVIC, INC.
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    1        CERTIFICATE OF APPROVAL OF CONTENT AND CONSENT TO FILE
    2
                   I, Nicholas J. Fox, counsel for Plaintiffs Sylvester Owino and Jonathan Gomez, and
    3
        the Proposed Class(es), hereby certify that the required parties have approved and accepted
    4
        the content of the Joint Motion to Extend Discovery Motion Deadline as to Plaintiffs’
    5
        Responses to Defendant’s Requests for Production of Documents and Interrogatories [First
    6
        Request], and that I have obtained authorization from Jacob B. Lee, counsel for Defendant,
    7
        for his electronic signature on the Joint Motion to Extend Discovery Motion Deadline as
    8
        to Plaintiffs’ Responses to Defendant’s Requests for Production of Documents and
    9
        Interrogatories [First Request].
  10

  11                                                 s/ Nicholas J. Fox
                                                     Nicholas J. Fox
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    1                                  CERTIFICATE OF SERVICE
    2              The undersigned hereby certifies that a true and correct copy of the above and
    3 foregoing document has been served on April 11, 2019, to all counsel of record who are

    4 deemed to have consented to electronic service via the Court’s CM/ECF system per Civil

    5 Local Rule 5.4.

    6
                                                  /s/ Nicholas J. Fox
    7
                                                  Nicholas J. Fox
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